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                        UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF KANSAS


NATIONAL CREDIT UNION
ADMINISTRATION BOARD, as Liquidating
Agent of Western Corporate Federal Credit Union,

                              Plaintiff,

       v.                                            Case Nos. 11-cv-2340-JWL-JPO

RBS SECURITIES, INC., f/k/a
GREENWICH CAPITAL MARKETS, INC., et al.,

                              Defendants.



NATIONAL CREDIT UNION
ADMINISTRATION BOARD, as Liquidating
Agent of U.S. Central Federal Credit Union et al.,

                              Plaintiff,

       v.
                                                     Case No. 12-cv-2591-JWL-JPO
UBS SECURITIES, LLC, et al.

                              Defendants,

and

RBS SECURITIES, INC., f/k/a
GREENWICH CAPITAL MARKETS, INC., et al.,

                              Defendants-
                              Intervenors.
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NATIONAL CREDIT UNION
ADMINISTRATION BOARD, as Liquidating
Agent of U.S. Central Federal Credit Union et al.,

                              Plaintiff,

       v.
                                                        Case No. 12-cv-2648-JWL-JPO
CREDIT SUISSE SECURITIES (USA), LLC, et al.

                              Defendants.
and

RBS SECURITIES, INC., f/k/a
GREENWICH CAPITAL MARKETS, INC., et al.,

                              Defendants-
                              Intervenors.




                               CONTRIBUTION BAR ORDER

       WHEREAS, the Court has been informed that the National Credit Union Administration

Board as Liquidating Agent (“NCUA”) of U.S. Central Federal Credit Union (“U.S. Central”)

and Western Corporate Federal Credit Union (“WesCorp” and the NCUA Board as liquidating

agent for each of U.S. Central and WesCorp, the “Plaintiff(s)”), and RBS Securities Inc., f/k/a

Greenwich Capital Markets, Inc., Financial Asset Securities Corp., and RBS Acceptance Inc.,

f/k/a Greenwich Capital Acceptance, Inc. (collectively “RBS” and together with Plaintiffs, the

“Settling Parties”) have reached a settlement and entered into a Settlement Agreement in

connection with National Credit Union Administration Board v. RBS Securities Inc., No. 11-cv-

2340 (JWL/JPO) (the “RBS Kansas Action”) and National Credit Union Administration Board v.

RBS Securities, Inc., 11 civ 5887 GW(JEMx) (the “RBS California Action” and, together with

the RBS Kansas Action, the “Settled Actions”);

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       WHEREAS, the RBS Kansas Action asserted, among others, claims against RBS

Securities Inc. arising from U.S. Central’s purchase of SAST 2006-3 A4 (CUSIP 80556AAD9)

and NHELI 2007-1 1A4 (CUSIP 65537KAY6);

       WHEREAS, the RBS California Action asserted, among others, claims against RBS

Securities Inc. arising from WesCorp’s purchase of NAA 2006-AR4 A1B (CUSIP 65538DAB1),

NHELI 2007-1 2A1A (Cusip 65537KAB6), and NHELI 2007-1 2A1B (CUSIP 65537KAC4);

       WHEREAS, the RBS Kansas Action asserted, among others, claims against RBS

Securities Inc. arising from U.S. Central’s purchase of NHEL 2006-5 A2D (CUSIP

66988YAE2);

       WHEREAS, the RBS Kansas Action asserted, among others, claims against RBS

Securities Inc. arising from U.S. Central’s purchase of NHEL 2006-5 M1 (CUSIP 66988YAF9);

       WHEREAS, the RBS Kansas Action asserted, among others, claims against RBS

Securities Inc. arising from U.S. Central’s purchase of NHEL 2006-5 M2 (CUSIP 66988YAG7)

(collectively with SAST 2006-3 A4, NHELI 2007-1 1A4, NAA 2006-AR4 A1B, NHELI 2007-1

2A1A, NHELI 2007-1 2A1B, NHEL 2006-5 A2D, and NHEL 2006-5 M1, the “Overlapping

Securities”);

       WHEREAS, National Credit Union Administration Board v. Credit Suisse Securities

(USA) LLC , 12-cv-02648-JWL-JPO (D. Kan.), also involves claims against Credit Suisse

Securities (USA), LLC arising from U.S. Central’s purchase of SAST 2006-3 A4 (CUSIP

80556AAD9);

       WHEREAS, National Credit National Credit Union Administration Board v. UBS

Securities, LLC , 11-cv-02591-JWL-JPO (D. Kan.) (collectively with National Credit National

Credit Union Administration Board v. Credit Suisse Securities (USA) LLC , 12-cv-02648-JWL-



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JPO (D. Kan.), the “Other Actions”), also involves claims against UBS Securities, LLC arising

from WesCorp’s purchase of NAA 2006-AR4 A1B (CUSIP 65538DAB1).

        WHEREAS, the RBS California Action also involves claims against Nomura Asset

Acceptance Corp. arising from WesCorp’s purchase of NAA 2006-AR4 A1B (CUSIP

65538DAB1);

       WHEREAS, the RBS California Action also involves claims against Nomura Home

Equity Loan, Inc. arising from WesCorp’s purchase of NHELI 2007-1 2A1A (CUSIP

65537KAB6) and NHELI 2007-1 2A1B (CUSIP 65537KAC4);

       WHEREAS, the RBS Kansas Action also involves claims against Nomura Home Equity

Loan, Inc. arising from U.S. Central’s purchase of NHELI 2007-1 1A4 (CUSIP 65537KAY6);

       WHEREAS, the RBS Kansas Action also involves claims against NovaStar Mortgage

Funding Corp. arising from U.S. Central’s purchase of NHEL 2006-5 A2D (CUSIP

66988YAE2);

       WHEREAS, the RBS Kansas Action also involves claims against NovaStar Mortgage

Funding Corp. arising from U.S. Central’s purchase of NHEL 2006-5 M1 (CUSIP 66988YAF9);

       WHEREAS, the RBS Kansas Action also involves claims against NovaStar Mortgage

Funding Corp. arising from U.S. Central’s purchase of NHEL 2006-5 M2 (CUSIP 66988YAG7);

       WHEREAS, in the Settled Actions, the Settling Parties will either stipulate to voluntary

dismissal pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) or else move for entry of orders of voluntary

dismissal pursuant to Fed. R. Civ. P. 41(a)(2) dismissing all claims therein as against RBS

with prejudice;




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       WHEREAS, the Settling Parties have also moved the Court for an order barring claims

by the non-settling defendants and any other alleged joint tortfeasors for contribution or

indemnity arising from the Overlapping Securities; and

       WHEREAS, for good cause shown, and upon due consideration of the Settling Parties’

motion for entry of this Bar Order;

       IT IS ORDERED that (a) Credit Suisse Securities (USA), LLC, UBS Securities, LLC,

Nomura Asset Acceptance Corp., Nomura Home Equity Loan, Inc., NovaStar Mortgage Funding

Corp., (b) any other person or entity later named as a defendant in the Settled Actions or Other

Actions, and (c) any other person or entity that becomes liable to Plaintiffs, to any current non-

settling defendant in the Settled Actions or Other Actions, or to any other alleged tortfeasor, by

reason of judgment or settlement, for any claims that are or could have been asserted in the

Settled Actions or Other Actions relating to the Overlapping Securities (collectively, the “Non-

Settling Defendants”), are hereby permanently BARRED, ENJOINED and RESTRAINED from

commencing, prosecuting, or asserting any claim for contribution or indemnity (whether styled

as a claim for contribution, indemnity or otherwise) against RBS, its present and former parents,

subsidiaries, divisions and affiliates, the present and former partners, employees, officers and

directors of each of them, the present and former attorneys, accountants, insurers (but not

affecting any obligation owed to RBS by any insurer), and agents of each of them, and the

predecessors, heirs, successors and assigns of each (collectively, the “Settling Defendant”), that

seeks to recover from the Settling Defendant any part of any judgment entered against the Non-

Settling Defendants and/or any settlement reached with any of the Non-Settling Defendants, in

connection with any claims that are or could have been asserted against the Non-Settling

Defendants that arise out of or relate to the Overlapping Securities, whether arising under state,



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federal, or foreign law as claims, cross-claims, counterclaims, or third-party claims, whether

asserted in the Other Actions, in any federal or state court, or in any other court, arbitration

proceeding, administrative agency, or other forum in the United States or elsewhere;

       IT IS FURTHER ORDERED that RBS is hereby permanently BARRED, ENJOINED

AND RESTRAINED from commencing, prosecuting, or asserting any claim for contribution or

indemnity (whether styled as a claim for contribution, indemnity or otherwise) against any of the

Non-Settling Defendants that seeks to recover any part of the settlement payment to be made by

RBS to Plaintiffs in connection with the settlement of the Settled Actions, whether arising under

state, federal, or foreign law as claims, cross-claims, counterclaims, or third-party claims,

whether asserted in this action, in any federal or state court, or in any other court, arbitration

proceeding, administrative agency, or other forum in the United States;

       IT IS FURTHER ORDERED that the Plaintiffs shall provide any Non-Settling Defendant

against which they obtain a judgment on claims related to the Overlapping Securities a judgment

credit in an amount that is the greater of (a) the amount of the Plaintiff’s settlement with RBS in

the Settled Actions allocated to the Overlapping Securities, as reflected on the confidential

schedule attached to the Settling Parties’ settlement agreement as Confidential Exhibit D (the

“Confidential Schedule”), or (b) for each such claim, state or federal, on which contribution or

indemnity is available, the proportionate share of RBS’s fault as proven at trial;

       IT IS FURTHER ORDERED that the Confidential Schedule shall not be disclosed to any

person other than to a court of competent jurisdiction and necessary court personnel, except that

(a) NCUA or RBS shall disclose the Confidential Schedule upon order of a court of competent

jurisdiction upon a showing of good cause, and (b) at the time a pretrial order is issued in any

action in which NCUA asserts claims based on the Overlapping Securities (or, if such a pretrial



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order has been entered before the entry of this Order, promptly after this Order is entered),

NCUA shall disclose the information in the Confidential Schedule pertaining to the Overlapping

Securities to any Non-Settling Defendant against which NCUA asserts such claims.




                                                     Dated: October 26, 2016



                                                     s/ John W. Lungstrum
                                                     Hon. John W. Lungstrum
                                                     United States District Judge




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